Case 1:15-cr-00370-JHR_ Document 50 Filed 03/15/18 Page 1 of 12 PagelD: 381

AO 245B (Mod. DO/NJ 12/06} Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
District of New Jersey

UNITED STATES OF AMERICA
v. CASE NUMBER = 1:15-CR-00370-JHR-1
ANGEL ANGULO

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
The defendant, ANGEL ANGULO, was represented by LISA EVANS LEWIS, AFPD.

The defendant pleaded guilty to counts 1,2 of the INDICTMENT on 6/20/2017. Accordingly, the court has adjudicated that
the defendant is guilty of the following offenses:

 

Title & Section Nature of Offense Date of Offense Numbers
18 USC § 1349 Conspiracy to Committ Bank Fraud 4/2011 thru 5/2011 4

(18 USC §1344]

18 USC Aggravated Identity Theft 05/14/2011 2
§§1028A(a){1)

and 2

As pronounced on March 14, 2018, the defendant is sentenced as provided in pages 2 through 7 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant must pay to the United States a special assessment of $200.00 for counts 1,2, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this

judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

Signed this 15th day of March, 2018.

wt?) %

Jgseph H,\Rodriguez oe
enior U.S. District Judge ae

 

92553
Case 1:15-cr-00370-JHR_ Document 50 Filed 03/15/18 Page 2 of 12 PagelD: 382

AO 2458 (Mod. D/NJ 12/06} Sheet 2 - Imprisonment

Judgment - Page 2 of 7
Defendant: ANGEL ANGULO
Case Number: 1:15-CR-00370-JHR-1

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 36 months, imprisoned for 12 months on Count One and 24 months on Count Two to be served consecutively to
Count One to produce a total sentence of 36 months.

The Court makes the following recommendations to the Bureau of Prisons: Defendant is to report to the Bureau of
Prisons for service of his sentence on April 23, 2018.

Court recommends defendant be placed in a BOP drug program. Court recommends defendant be placed in Taft
Ct in California.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on To
At , with a certified copy of this Judgment.

 

United States Marshal

By

 

Deputy Marshal
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18 Page 3 of 12 PagelD: 383

AQ 2458 (Mod. D/NJ 12/06} Sheet 3 - Supervised Release

Judgment - Page 3 of 7
Defendant: ANGEL ANGULO
Case Number: 1:15-CR-00370-JHR-1

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of 5 years, this term consists of terms
of 5 years on Count One and 1 year on Count Two, ali such terms to run concurrently.

Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released,

While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

You must submit to one drug test within 15 days of commencement of supervised release and at least two tests
thereafter as determined by the probation officer.

You must cooperate in the collection of DNA as directed by the probation officer

If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

You must comply with the following special conditions:
FINANCIAL DISCLOSURE

Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
of your income. You must cooperate in the signing of any authorization to release information forms permitting the
U.S. Probation Office access to your financial records.

MENTAL HEALTH TREATMENT

You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
anger management, as approved by the U.S. Probation Office, until discharged by the Court. The U.S. Probation
Office will supervise your compliance with this condition.

NEW DEBT RESTRICTIONS

You are prohibited from incurring any new credit charges, opening additional tines of credit, or incurring any new
monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
obligation or otherwise has the expressed approval of the Court.

SELF-EMPLOYMENT/BUSINESS DISCLOSURE

You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self-
employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved
for self-employment, you must provide the U.S. Probation Office with full disclosure of your self-employment and
other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
for Self Employment Records), or as otherwise requested by the U.S. Probation Office.
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18 Page 4 of 12 PagelD: 384

AO 245B (Mod. DYNJ 12/06) Sheet 3a - Supervised Relaase

Judgment - Page 4 of 7
Defendant: ANGEL ANGULO
Case Number: 1:15-CR-00370-JHR-1

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.

1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3} You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
(such as your position or your job responsibilities}, you must notify the probation officer at least 10 days before the
change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
person such as nunchakus or tasers).

11} You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18 Page 5 of 12 PagelD: 385

AQ 2458 (Mod. D/NJ 12/06) Sheet 3a - Supervised Release
Judgment - Page 5 of 7

Defendant: ANGEL ANGULO
Case Number: 1:15-CR-00370-JHR-1

STANDARD CONDITIONS OF SUPERVISION

13) You must follow the instructions of the probation officer related to the conditions of supervision.

Upon a finding of a violation of probation or supervised release, | understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

These conditions have been read to me. | fully understand the conditions, and have been provided a copy of them.

You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

(Signed)
Defendant Date

 

U.S. Probation Officer/Designated Witness Date
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18 Page 6 of 12 PagelD: 386

AO 245B (Mod. D/NJ 12/06) Sheet 6 - Restitution and Forfeiture

Judgment - Page 6 of 7
Defendant: ANGEL ANGULO
Case Number: 1:15-CR-00370-JHR-1

RESTITUTION AND FORFEITURE

RESTITUTION

The defendant shall make restitution in the amount of $480,300.22. Payments should be made payable to the ULS,
Treasury and mailed to Clerk, U.S.D.C., 492 East State Street, Rm 2020, Trenton, New Jersey 08608, for proportionate
distribution to the following victims in the following amounts:

Name of Payee (Victim) Amount of Restitution

See Attachment

The amounts ordered represent the total amounts due to the victims for these losses. The defendant's restitution obligations
shall not be affected by any restitution payments made by other defendants in this case, except that no further payments
will be required once payment(s) by one or more defendants fully satisfies the victims’ total losses. The following
defendant(s) in the following case(s) may be subject to restitution orders to the same victims for these same losses:

Crystal Banuelos 15-00370-002

The restitution is due immediately. It is recommended that the defendant participate in the Bureau of Prisons Inmate
Financial Responsibility Program (IFRP). If the defendant participates in the IFRP, the restitution shall be paid from those
funds at a rate equivalent to $25 every 3 months. In the event the entire restitution is not paid prior to the commencement
of supervision, the defendant shall satisfy the amount due in monthly installments of no less than $250.00, to commence
30 days after release from confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3} restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7} JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
Case 1:15-cr-00370-JHR Document 50_Filed_03/15/18 Page 7 of 12 PagelD: 387

Restitution payments should be mailed to:

No.

l.

Victim
AmeriChoice, FCU
Attn: eServices
P.O. Box 1429

2175 Bumble Bee Hollow Road
Mechanicsburg, PA 17055

Bethpage FCU

P.O. Box 127

Attn: Restitution
Bethpage, NY 11714

Chase Bank

Attn: Victor Ayala

Vice President — Global Security & Investigations
201 N Walnut, Ist Floor 1

Wilmington, DE 19801

Beneficial Bank
3 Sunset Road
Burlington, NJ 08016

Community Trust Credit Union
1313 Skokie Hwy
Gurnee, IL 60031

Digital Federal Credit Union
220 Donald Lynch Boulevard
PO Box 9130

Marlborough, MA 01752-9130

First American Bank
PO Box 0794
Elk Grove Village, IL 60009

First National Bank & Trust Co. of Newton
345 East Grand Avenue
Beloit, WI 53511

First Northern Credit Union
541 N Fairbanks Ct
Chicago, IL 60611

Restitution
$800.00

$800.00

$17,735.00

$2,280.00

$503.00

$200.00

$709.00

$3,300.00

$203.00
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18 Page 8 of 12 PagelD: 388

No. Victim Restitution

10. First Trust Savings $700.00
Box 220
Wheatland, IA 52777

11. EVB Bank $503.00
PO Box 2075
Ashland VA 23005

12. BMO Harris Bank N.A. $18,524.75
c/oI&SS Suite 21E
111 W. Monroe
Chicago, II 60603

13. Houston FCU $500.00
16320 Kensington Drive
Sugar Land, TX 77479-4079

14. Aspire FCU $200.00
67 Walnut Avenue, Suite 401
Clark, NJ 07066

15. First Midwest Bank/Fraud $2,115.00
3800 Rock Creek Blvd
Joliet, IL 60431

16. Illinois National Bank $606.50
109 S Main St
Fairmount, IL 61841

17. Independent Bank — West Michigan $200.00
323 W Main St
Carson City, MI 48811

18. Kearny Federal Savings Bank $3,200.00
614 Kearny Ave
Kearny, NJ 07032

19. Lake Forest Bank & Trust Company $200.00
727 North Bank Lane
Lake Forest, IL 60045

20. MB Financial Bank $1,000.00
1730 Twin Springs Rd
Baltimore, MD 21227
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18

No.
21.

22.

23.

24.

25.

26.

27.

28.

29.

30.

31.

Victim
Municipal Credit Union
P.O. Box 3205

Church Street Station
New York City, NY 10007

Nassau Educators FCU
1000 Corporate Drive
Westbury, NY 11590

New England FCU
PO Box 527
Williston, VT 05495

PSECU
1500 Elmerton Avenue
Harrisburg, PA 171106

Police & Fire Federal Credit Union
Attn: Mark Tustin

901 Arch St

Philadelphia, PA 19107

Providence Bank & Trust
Attn: Christine Steiskal
630 East 162nd Street
South Holland, IL 60473

Somerset Valley Bank
103 West End Ave
Somerville, NJ 08876

State EFCU

Attn: Hilda Mercado, CFE, NCCO
700 Patroon Creek Blvd.

Albany, NY 12206

Univest National Bank and Trust
9120 Chesapeake Ave
North Beach, MD 20714

Urban Trust Bank
1350 1St
NW Washington, DC 20005

Citizens Bank

Page 9 of 12 PagelD: 389

Restitution
$2,800.00

$803.00

$100.00

$202.00

$10,371.00

$1,007.50

$1,000.00

$200.00

$1,000.75

$202.50

$11,362.00
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18

No.

32.

33.

34.

35.

36.

37.

38.

39.

Victim
Attn: Restitution

1 Citizens Drive ROP210
Riverside, RI 02915

TD Bank, N.A.

Attn: Research Dept.,
11000 Atrium Way
Mt. Laurel, NJ 08054

Sovereign Bank

Fraud Prevention Recoveries
2 Morrissey Blvd.
Dorchester, MA 02125

Wells Fargo Bank

Attn: Restitution Dept.
608 2nd Ave St 485
Minneapolis, MN, 55402

PNC Bank, NA

500 First Ave

Mail Stock PPFSC-04-B
Attn: Cheryl Wilkeson
Pittsburg, PA 15219

Citibank Group
Investigative Services
14700 Citicorp Drive
Bldg #2

Hagerstown, MD 21742

HSBC Bank USA
26 Broadway
New York, NY 10004

ICBA Bancard

Attn: Restitution

1615 L Street NW, Suite 900
Washington, DC 20036

Provident Bank Corporate
Corporate Headquarters
Attn: Restitution

239 Washington Avenue
Jersey City, NJ 07302

Page 10 of 12 PagelD: 390

Restitution

$81,916.25

$9,520.00

$7,609.00

$24,111.00

$16,481.50

$500.00

$500.00

$2,700.00
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18 Page 11 of 12 PagelD: 391

No. Victim Restitution

40. Technology Credit Union $502.00
3847 South Howell Avenue
Milwaukee, WI 53207-3840

41. US Bankcorp $169,623.12
800 Nicollet Mall
Minneapolis, MN 55402

42. West Suburban Bank $1,006.00

101 North Lake Street
Aurora, Illinois 60506

43. California Bank and Trust $800.00
11622 El Camino Real #200
San Diego, CA 92130

44. Bank of America $78,589.10

Attn: Recovery Services
MO1-800-06-14

800 Market Street

St. Louis, MO 63101-2510

45. Citizens Bank $1,005.75
Attn: Restitution
1 Citizens Drive ROP210

Riverside, RI 02915

46. Beneficial Bank $1,802.50
3 Sunset Road
Burlington, NJ 08016

47. Fifth Third Bank $306.00

Attn: Adam Hipple

Corporate Investigator — Southern Region
105 Live Oaks Gardens
Casselberry, FL 32707

Total: $480,300.22
Case 1:15-cr-00370-JHR Document 50 Filed 03/15/18 Page 12 of 12 PagelD: 392

AO 245B (Mod, DINJ 12/06) Sheal 6 - Restitution and Forfeitura

Judgment - Page 7 of 7
Defendant: ANGEL ANGULO
Case Number: 1:15-CR-00370-JHR-1

ESTITUTION AND FORFEITURE

FORFEITURE

Order of Forfeiture to be submitted.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

Payments shall be applied in the following order: (1) assessment, {2} restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
